  Case 2:16-cv-00444-JRG Document 7 Filed 07/06/16 Page 1 of 1 PageID #: 85




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS LLC           §
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §          Case No: 2:16-cv-00450-JRG
                                    §
CITIBANK, NA                        §          LEAD CASE
                                    §
      Defendants.                   §
___________________________________ §
                                    §
SYMBOLOGY INNOVATIONS LLC           §
                                    §
      Plaintiff,                    §
                                    §
vs.                                 §          Case No: 2:16-cv-00444-JRG
                                    §
BEACON PAYMENTS LLC                 §          CONSOLIDATED CASE
    .                               §
      Defendant.                    §
___________________________________ §

                                        ORDER

       On this day the Court considered the Unopposed Motion to Dismiss Beacon Payments
LLC. (Dkt. 22). It is therefore ORDERED that all claims by Symbology Innovations LLC against
Beacon Payments LLC are hereby DISMISSED WITHOUT PREJUDICE, with each party to bear its own
costs, expenses and attorneys’ fees.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 6th day of July, 2016.




                                                    ____________________________________
                                                    RODNEY GILSTRAP
                                                    UNITED STATES DISTRICT JUDGE
